  Case: 1:98-cr-00434 Document #: 362 Filed: 11/14/07 Page 1 of 2 PageID #:276



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No. 98 CR 434-9
                                           )    (USCA No. 07-2764)
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                                 MEMORANDUM

     For a number of years this Court has hoped against hope that

the most recent of its seemingly innumerable memorandum opinions

and memorandum opinions and orders (the most recent being issued

on November 6, 2007) might be the last of its efforts to stem the

tide of groundless post-conviction motions authored by Michael

Black (“Black”).     But Black’s indefatigable nature has repeatedly

dashed those hopes.      This memorandum is issued because a current

opinion from our Court of Appeals makes it plain that Black is

compelled to turn to that court for permission before he can

launch any further efforts.

     On November 8 the Court of Appeals issued its opinion in

Curry v. United States, No. 07-1658 that addressed and resolved

“the recurring question of how the court of appeals should treat

an appeal from the denial of a prisoner’s motion under Fed. R.

Civ. P. 60(b),” the vehicle that Black has now taken to invoking

in an attempt to avoid the prohibition against filing a second or

otherwise successive motion under 28 U.S.C. §2255 (“Section

2255”) without prior permission from the Court of Appeals.                 As
  Case: 1:98-cr-00434 Document #: 362 Filed: 11/14/07 Page 2 of 2 PageID #:277



Curry, slip op. at 2-3 has explained:

     Critically, it does not matter how the prisoner labels
     his pleading. Federal postconviction law is complex,
     and few prisoners understand it well. Often a prisoner
     will file a motion under Rule 60(b) of the civil rules,
     that is, a motion to reconsider a judgment, but the
     ground of the motion and the relief he seeks will mark
     the motion as functionally a petition for habeas corpus
     or a motion under section 2255, because it challenges
     the legality of his detention and seeks his release.
     If so, it will be treated as such. Gonzalez v. Crosby,
     545 U.S. 524, 530-32 (2005). “Prisoners cannot avoid
     the...rules [governing federal post-conviction
     remedies] by inventive captioning....[T]he name
     makes no difference. It is substance that controls.”
     Melton v. United States, 359 F.3d 855, 857 (7th Cir.
     2004). Similar issues of characterization arise when a
     prisoner brings a civil rights suit but actually is
     asking for relief available only under sections 2254 or
     2255. Cochran v. Buss, 381 F.3d 637, 639-40 (7th Cir.
     2004); Montgomery v. Anderson, 262 F.3d 641, 643-44
     (7th Cir. 2001).

     If a Rule 60(b) motion is really a successive
     postconviction claim, the district court will lack
     jurisdiction unless the prisoner has first obtained our
     permission to file it.

     That discussion describes exactly what Black has taken to

doing most recently.      Accordingly this memorandum notifies Black

that this Court will entertain no further attempts on his part to

obtain the relief that he repeatedly seeks by challenging his

conviction and the consequent sentence he is serving.               Any such

efforts would simply be dismissed for lack of jurisdiction.                 This

does not of course preclude him from seeking permission from the

Court of Appeals under Section 2255 ¶8.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge
Date:   November 14, 2007

                                       2
